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       Case: 21-1011   Document: 7          Filed: 02/24/2021   Pages: 88
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       Case: 21-1011   Document: 7          Filed: 02/24/2021   Pages: 88
Case: 1:21-cv-06064 Document #: 31-3 Filed: 01/10/22 Page 21 of 88 PageID #:1434
       Case: 21-1011   Document: 7          Filed: 02/24/2021   Pages: 88
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Case: 1:21-cv-06064 Document #: 31-3 Filed: 01/10/22 Page 23 of 88 PageID #:1436
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       Case: 21-1011   Document: 7          Filed: 02/24/2021   Pages: 88
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       Case: 21-1011   Document: 7          Filed: 02/24/2021   Pages: 88
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       Case: 21-1011   Document: 7          Filed: 02/24/2021   Pages: 88
Case: 1:21-cv-06064 Document #: 31-3 Filed: 01/10/22 Page 29 of 88 PageID #:1442
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Case: 1:21-cv-06064 Document #: 31-3 Filed: 01/10/22 Page 31 of 88 PageID #:1444
       Case: 21-1011   Document: 7          Filed: 02/24/2021   Pages: 88
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       Case: 21-1011   Document: 7          Filed: 02/24/2021   Pages: 88
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       Case: 21-1011   Document: 7          Filed: 02/24/2021   Pages: 88
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       Case: 21-1011   Document: 7          Filed: 02/24/2021   Pages: 88
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       Case: 21-1011   Document: 7          Filed: 02/24/2021   Pages: 88
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       Case: 21-1011   Document: 7          Filed: 02/24/2021   Pages: 88
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       Case: 21-1011   Document: 7          Filed: 02/24/2021   Pages: 88
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       Case: 21-1011   Document: 7          Filed: 02/24/2021   Pages: 88
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       Case: 21-1011   Document: 7          Filed: 02/24/2021   Pages: 88
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       Case: 21-1011   Document: 7          Filed: 02/24/2021   Pages: 88
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       Case: 21-1011   Document: 7          Filed: 02/24/2021   Pages: 88
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       Case: 21-1011   Document: 7          Filed: 02/24/2021   Pages: 88
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       Case: 21-1011   Document: 7          Filed: 02/24/2021   Pages: 88
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       Case: 21-1011   Document: 7          Filed: 02/24/2021   Pages: 88
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       Case: 21-1011   Document: 7          Filed: 02/24/2021   Pages: 88
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       Case: 21-1011   Document: 7          Filed: 02/24/2021   Pages: 88
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       Case: 21-1011   Document: 7          Filed: 02/24/2021   Pages: 88
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       Case: 21-1011   Document: 7          Filed: 02/24/2021   Pages: 88
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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

SARINA ERVIN,                                  )
                                               )
               Petitioner,                     )               Case No. 20 C 6006
                                               )
               v.                              )
                                               )               Judge Jorge L. Alonso
RAYMOND ERVIN,                                 )
                                               )
               Respondent.                     )

                                              ORDER

        Sarina Ervin’s motion [7] to remand is granted. This case is remanded to the Circuit
Court of Lake County. Civil case terminated.

                                           STATEMENT

       Respondent Raymond Ervin (“Raymond”) filed a notice of removal stating that he
thereby removed “Case Number 04D1943.” That case was a domestic-relations case, and the
Seventh Circuit Court of Appeals described the case as follows:

       [Raymond] and Sarina were living together in Canada when divorce proceedings
       began in 1998. After their divorce was final, the Ontario court issued an interim
       order awarding custody of the couple’s three children to Sarina and requiring
       Raymond to make support payments. Raymond . . . moved to Illinois[.] . . . The
       Ontario court conducted additional proceedings in Raymond’s absence, and in
       2000 it entered a final order that increased his monthly support payments.

       Sarina registered the latter order in Illinois in 2004 by filing it in state court along
       with the other information required by statute. See 750 ILCS 22/602. Raymond
       contested the registered order, as he was entitled to do under 750 ILCS 22/606.
       He asserted, among other things, that he had not received notice of the additional
       proceedings that took place in the Ontario court after he left Canada. Thus, he
       reasons, the Ontario court’s order is not valid because it violated his right to due
       process. The Circuit Court of Lake County (IL) rejected that argument and
       confirmed the registered order pursuant to 750 ILCS 22/607(c). The state
       appellate court affirmed its judgment, and in 2009 the Supreme Court of Illinois
       denied Raymond’s petition for leave to appeal.

Ervin v. Ervin, 571 Fed.Appx. 464, 465 (7th Cir 2014) (affirming dismissal of Raymond’s §
1983 claims for want of jurisdiction based on Rooker-Feldman doctrine).
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         Raymond, as the removing party in this case, “bears the burden of establishing federal
jurisdiction.” Tri-State Water Treatment, Inc. v. Bauer, 845 F.3d 350, 352 (7th Cir. 2017). In
his notice of removal, Raymond asserts that he is a citizen of Illinois, that Sarina is a citizen of
Canada and that the amount in controversy exceeds $75,000.00. 28 U.S.C. § 1332(a)(2). To the
extent that Raymond is attempting to remove the entire 2004 state-court case, removal was
improper, because, as Sarina points out (and pointed out within 30 days after removal), the notice
of removal was untimely. 28 U.S.C. § 1446(b)(1) (“The notice of removal of a civil action or
proceeding shall be filed within 30 days after the receipt by the defendant, through service or
otherwise, of a copy of the initial pleading . . . ”). Because it was clear on the first day of that
suit that the parties were diverse, § 1446(b)(3) is inapplicable. 28 U.S.C. § 1446(b)(3) (“Except
as provided in subsection (c), if the case stated by the initial pleading is not removable, a notice
of removal may be filed within 30 days after receipt by the defendant, through service or
otherwise, of a copy of an amended pleading, motion, order or other paper from which it may
first be ascertained that the case is one which is or has become removable.”). Likewise, to the
extent Raymond was attempting to remove the post-judgment supplemental proceedings (i.e., the
citations to discover his assets) directed to him, removal was improper for the same reason.
Those proceedings began no later than 2017 [Docket 1-15], so, as Sarina points out, the notice of
removal was untimely. 1

        It is possible that Raymond, whose notice of removal is not a model of clarity, is
attempting to remove only the citation to discover assets that Sarina issued to the Social Security
Administration. Raymond’s notice of removal states that Sarina “seeks a turnover order for
garnishment of Raymond’s SSA benefits to satisfy child support payments.” [Docket 1 at ¶ 4].
Raymond also asserts that Sarina “served summons with Third Party Citation to Social Security
Administration (SSA) (see attachments) on or about August 20, 2019.” [Docket 1 at ¶ 1].
Raymond states that the pandemic delayed the citation and that, on September 11, 2020, the state
court set that citation for a hearing on October 9, 2020. The day before that hearing was to
occur, Raymond removed the case, and his notice of removal seems to argue that the
involvement of the Social Security Administration presents a federal question. [Docket 1 at 2].

       To the extent Raymond is attempting to remove only the citation to discover assets that
was issued to the Social Security Administration, Sarina points out two defects with that
removal. [Docket 13 at 5-6]. 2 First, Sarina correctly points out that the notice of removal was
1
  It is not clear that Raymond could have removed those proceedings with even a timely notice of
removal, because they are “probably excluded from federal-court jurisdiction by the domestic-
relations doctrine.” Ervin, 571 Fed.Appx. at 466 (citing Marshall v Marshall, 547 U.S. 293,
311-312 (2006); Struck v. Cook Cty. Public Guardian, 508 F.3d 858, 859-60 (7th Cir. 2007)).
Furthermore, ancillary proceedings are generally not removable. See GE Betz, Inc. v. Zee Co.,
Inc., 718 F.3d 615, 622-23 & 625 (7th Cir. 2013) (explaining that “most state-court enforcement
proceedings are more properly characterized as ancillary or supplementary suits” and are,
therefore, not removable under § 1441(a), which allows the removal only of independent suits,
not ancillary proceedings).
2
  The Court notes that those arguments were made within 30 days after Raymond filed the notice
of removal. 28 U.S.C. § 1447(c) (“A motion to remand the case on the base of any defect other
than lack of subject matter jurisdiction must be made within 30 days after the filing of the notice

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not filed within thirty days after service of the citation, 28 U.S.C. § 1446(b)(1), which Raymond
admits in the notice of removal was served on or about August 20, 2019 [Docket 1 at ¶1].
Raymond argues that, pursuant to 28 U.S.C. § 1446(b)(3), he had until 30 days after the state
court’s scheduling order to file his notice of removal. That is nonsense. The scheduling order
was not Raymond’s first notice that the case was removable [Docket 1-47], so § 1446(b)(3) does
not apply.

        Sarina has also pointed out a second reason why the notice of removal for the citation to
discover assets is defective: Raymond did not obtain the consent of the Social Security
Administration. 28 U.S.C. § 1446(b)(2)(A) (“all defendants who have been properly joined and
served must join in or consent to the removal of the action.”). As the third-party recipient of the
citation to discover asserts, the Social Security Administration is a defendant to the citation
proceedings. See GE Betz, Inc. v. Zee Co., Inc., 718 F.3d 615, 629-30 (7th Cir. 2013) (“a third-
party citation respondent in an Illinois citation action is a defendant” for purposes of the removal
statute).

        For these reasons, Raymond’s notice of removal was defective. Accordingly, Sarina’s
motion to remand is granted. This case is remanded to the Circuit Court of Lake County. Civil
case terminated.

SO ORDERED.                                           ENTERED: November 17, 2020




                                                      JORGE L. ALONSO
                                                      United States District Judge




of removal under section 1446(a)”); GE Betz, Inc. v. Zee Co., Inc., 718 F.3d 615, 626 (7th Cir.
2013) (“GE Betz’s forum-defendant objection was timely under 28 U.S.C. § 1447(c); it raised
the argument in its motion to reconsider, filed sixteen days after Zee’s removal.”).

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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

SARINA ERVIN,                                 )
                                              )
               Petitioner,                    )               Case No. 20 C 6006
                                              )
               v.                             )
                                              )               Judge Jorge L. Alonso
RAYMOND ERVIN,                                )
                                              )
               Respondent.                    )

                                              ORDER

       Sarina Ervin’s motion [15, 16] for fees is granted. The Court awards $7,875.00.
Hearing set for December 1, 2020 is stricken.

                                          STATEMENT

         After petitioner Sarina Ervin (“Sarina”) filed a motion for remand, the Court granted the
motion. Before the Court is Sarina’s motion for fees in connection with the remand. Although
the Court has already granted the motion for remand, the Court may still consider the motion for
fees. PNC Bank NA v. Spencer, 763 F.3d 650, 654 (7th Cir. 2014) (“even after remanding a case
to state court, a district court retains jurisdiction to decide collateral matters like fee awards”);
Wisconsin v. Hotline Indus., Inc., 236 F.3d 363, 365 (7th Cir. 2000). Sarina seeks $7,875.00 in
fees, based on 17.75 attorney hours billed at rates of $400, $450 and $600. The time was spent
on the motion for remand and the motion for fees.

      The remand statute allows a court to “require payment of just costs and any actual
expenses, including attorney fees, incurred as a result of the removal.” 28 U.S.C. § 1447(c). The
Supreme Court has explained the purpose of the provision:

       The process of removing a case to federal court and then having it remanded back
       to state court delays resolution of the case, imposes additional costs on both
       parties, and wastes judicial resources. Assessing costs and fees on remand
       reduces the attractiveness of removal as a method for delaying litigation and
       imposing costs on the plaintiff.

Martin v. Franklin Capital Corp. 546 U.S. 132, 140 (2005). Accordingly, the Supreme Court
outlined the following test for awarding fees under § 1447(c):

       [a]bsent unusual circumstances, courts may award attorney’s fees under § 1447(c)
       only where the removing party lacked an objectively reasonable basis for seeking
       removal. . . . In applying this rule, district courts retain discretion to consider
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       whether unusual circumstances warrant a departure from the rule in a given case.
       . . . When a court exercises discretion in this manner, however, its reasons for
       departing from the general rule should be ‘faithful to the purposes’ of awarding
       fees under § 1447(c).

Martin, 546 U.S. at 141.

         In addition to several irrelevant arguments (including the merits of the underlying
citation and the merits of prior child support orders) that do not warrant discussion, Raymond
argues that he had an objectively reasonable basis for removal, namely, the existence of a federal
question based on the fact that the recipient of the citation to discover assets was the Social
Security Administration. Even were that so, however, as the Court explained in its remand
order, Raymond’s notice of removal suffered two fatal defects: (1) it was filed too late; and (2) it
was filed without the consent of the Social Security Administration, which was a defendant to
the citation proceedings. [Docket 14 at 2-3]. These principles were clearly established.

        Thus, the Court finds that Raymond lacked an objectively reasonable basis for removal.
Accordingly, an award of fees is warranted in this case. Furthermore, the Court notes that even
if Raymond had had an objectively reasonable basis for removal, the Court still would have
granted fees. This case presents the sort of unusual circumstance that the Supreme Court in
Martin said could warrant a departure from the usual rule. Martin, 546 U.S. at 141. These
parties have been litigating over child support for ages. See, e.g., Ervin v. Ervin, 571 Fed.Appx.
464, 465 (7th Cir 2014) (describing the long history of these parties’ battles and affirming
dismissal of Raymond’s § 1983 claims for want of jurisdiction based on Rooker-Feldman
doctrine). Raymond removed this case the day before a long-awaited hearing on the citation to
discover assets, thereby causing the sort of unjustified delay that §1447(c) is meant to deter.
Fees are warranted.

        Raymond does not take issue with the amount of the requested fees. He does not argue
that the rates or the number of hours billed were excessive. Nor does he argue that the fees were
not actually incurred. Accordingly, the Court finds that the amount requested by Sarina is
appropriate.

       For these reasons, Sarina’s motion for fees is granted, and she is awarded $7,875.00.

SO ORDERED.                                          ENTERED: November 30, 2020




                                                     JORGE L. ALONSO
                                                     United States District Judge




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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

Sarina Antonina Ervin
                                 Plaintiff,
v.                                                     Case No.: 1:20−cv−06006
                                                       Honorable Jorge L. Alonso

                                 Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, January 5, 2021:


       MINUTE entry before the Honorable Jorge L. Alonso: Respondent's motion for
extension of time to file notice of appeal awarding attorneys costs and fees [22] is granted.
Notice mailed by judge's staff (lf, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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